89 F.3d 828
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James D. HABURN, Sr., Petitioner-Appellant,v.NORTH CAROLINA ATTORNEY GENERAL;  W.K. Jones, Respondents-Appellees.
    No. 96-6470.
    United States Court of Appeals, Fourth Circuit.
    Fourth Circuit.
    Submitted May 16, 1996.Decided June 6, 1996.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Durham.   William L. Osteen, Sr., District Judge (CA-95-397-1).
      James D. Haburn, Sr., Appellant Pro Se.  Clarence Del Forge, III, OFFICE OF THE ATTORNEY GENERAL OF NORTH CAROLINA, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      DISMISSED.
      Before RUSSELL, LUTTIG and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.   Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.   Haburn v. North Carolina Attorney General, No. CA-95-397-1 (M.D.N.C. Mar. 7, 1996).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    